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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



SAMUEL EUGENE CALHOUN,

         Plaintiff,
                                                     Case No. 1:20-cv-387
v.
                                                     Hon. Hala Y. Jarbou
P. MORRIS,

      Defendant.
___________________________________/

                                            ORDER

         This is a civil rights action under 42 U.S.C. § 1983 brought by a prisoner proceeding in

forma pauperis. Plaintiff Samuel Eugene Calhoun filed an amended complaint. (ECF No. 20.)

Magistrate Judge Phillip J. Green produced a Report and Recommendation (R&R) recommending

that the City of Muskegon, identified as a Defendant in the amended complaint, be dismissed.

(ECF No. 19, PageID.96.) Calhoun concurred with the R&R, indicating that he did not intend to

“initiate an action against the City of Muskegon[.]” (Pl.’s Concurrence, ECF No. 24, PageID.133.)

         Accordingly,

         IT IS ORDERED that the R&R (ECF No. 19) is APPROVED and ADOPTED as the

opinion of the Court.

         IT IS FURTHER ORDERED that Defendant City of Muskegon is DISMISSED.



Dated:     May 14, 2021                              /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
